    Case 2:15-cv-05346-CJC-E Document 469-55 Filed 12/10/20 Page 1 of 18 Page ID
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                      Exhibit 1-**
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment


             U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                      Exhibit 1GG
                                                         White Decl. ISO Disney's SJ Motion P.0654
    Case 2:15-cv-05346-CJC-E Document 469-55 Filed 12/10/20 Page 2 of 18 Page ID
UNREDACTED VERSION OF DOCUMENT   PROPOSED
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                          November  14, 2019TO BE FILED UNDER SEAL
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    ·1· · · · · · · ·UNITED STATES DISTRICT COURT

    ·2· · · · · · ·CENTRAL DISTRICT OF CALIFORNIA

    ·3· · · · · · · · · · · · ---OOO---

    ·4

    ·5·   T.P., by and through S.P.,· )
    · ·   as next friend, parent,· · ·)
    ·6·   and natural guardian, et· · )
    · ·   al.,· · · · · · · · · · · · )
    ·7·   · · · · · · · · · · · · · · )
    · ·   · · · · · · · · Plaintiffs, )
    ·8·   · · · · · · · · · · · · · · )
    · ·   · · · · · · vs.· · · · · · ·) CASE NO.
    ·9·   · · · · · · · · · · · · · · ) 2:15-cv-05346-R-E
    · ·   · · · · · · · · · · · · · · )
    10·   Walt Disney Parks and· · · ·)
    · ·   Resorts U.S., Inc.· · · · · )
    11·   · · · · · · · · · · · · · · )
    · ·   · · · · · · · · ·Defendant. )
    12·   ____________________________)

    13

    14

    15
    · · · · · · · ·VIDEOTAPED DEPOSITION PROCEEDINGS OF
    16
    · · · · · · · · · · · · ·FELIPE ZAVALA
    17
    · · · · · · · · · ·Thursday, November 14, 2019
    18

    19

    20· · · · · · · 415 Mission Street, Suite 5600

    21· · · · · · · · San Francisco, California

    22

    23

    24

    25· REPORTED BY:· ANGIE DINER, RMR, CRR, CSR NO.9581


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0655
                                     (877) 479-2484
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UNREDACTED VERSION OF DOCUMENT   PROPOSED
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                          November  14, 2019TO BE FILED UNDER SEAL
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    ·1· A P P E A R A N C E S:

    ·2

    ·3· FOR Defendant:

    ·4·   ·MCDERMOTT, WILL & EMERY
    · ·   ·BY:· KERRY ALAN SCANLON, ESQ
    ·5·   · · · JULIE MCCONNELL, ESQ.
    · ·   ·500 North Capitol Street, NW
    ·6·   ·Washington, D.C.· 20001
    · ·   ·202-756-8000
    ·7·   ·Kscanlon@mwe.com
    · ·   ·Jmcconnell@mwe.com
    ·8

    ·9

    10· FOR Plaintiffs:

    11·   ·ARIAS SANGUINETTI WANG & TORRIJOS, LLP
    · ·   ·BY:· Eugene Feldman, ESQ.
    12·   ·6701 Center Drive West, Suite 1400
    · ·   ·Los Angeles, California 90045
    13·   ·310-844-9696
    · ·   ·Eugene@aswtlawyers.com
    14

    15

    16

    17· ALSO PRESENT:

    18· · · · ·Michael Santy, videographer

    19· · · · ·Victor Martinez, interpreter

    20· · · · ·Ricardo Claps

    21

    22

    23

    24

    25


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UNREDACTED VERSION OF DOCUMENT   PROPOSED
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    ·1· · · · ·BE IT REMEMBERED that on Thursday,

    ·2· November 14, 2019, commencing at the hour of 9:23

    ·3· a.m. at the Law Offices of McDermott Will & Emery,

    ·4· 415 Mission Street, Suite 5600, San Francisco,

    ·5· California, before me ANGIE DINER, a Certified

    ·6· Shorthand Reporter in and for the State of

    ·7· California.

    ·8· · · · · · · · · · · ·---OOO---

    ·9· · · · ·THE VIDEOGRAPHER:· Good morning.· We're on

    10· the record at 9:23 a.m. on November the 14th, 2019.

    11· Audio and video recording will continue to take

    12· place until all parties agree to go off the record.

    13· Please note that microphones are sensitive and may

    14· pick up whispering and private conversations.· This

    15· is the video-recorded deposition of Felipe Zavala

    16· taken by the counsel for the defendant in the matter

    17· of T.P. by and through S.P. as next friend, parent,

    18· and natural guardian, et al, versus Walt Disney

    19· Parks and Resorts U.S. Incorporated, filed in the

    20· U.S. District Court, Central District of California.

    21· This deposition is being held at McDermott Will &

    22· Emery located at 415 Mission Street, Suite 5600,

    23· San Francisco, California.

    24· · · · ·My name is Michael Santy.· I'm the

    25· videographer on behalf of U.S. Legal Support,


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0657
                                     (877) 479-2484                                       YVer1f
    Case 2:15-cv-05346-CJC-E Document 469-55 Filed 12/10/20 Page 5 of 18 Page ID
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    ·1· located at 201 Mission Street, Suite 600,

    ·2· San Francisco, California.· The court reporter is

    ·3· Angie Diner on behalf of U.S. Legal Support.· I am

    ·4· not related to any party in this action, nor am I

    ·5· financially interested in the outcome.

    ·6· · · · ·Counsel will state their appearances for the

    ·7· record, after which the court reporter will swear in

    ·8· the witness.

    ·9· · · · ·MR. FELDMAN:· Eugene Feldman for the

    10· plaintiff.

    11· · · · ·MR. SCANLON:· Kerry Scanlon for the

    12· defendant, and with me are Julie McConnell from my

    13· office and a representative of our firm, Ricardo

    14· Claps, for purposes of interpretation here today.

    15· · · · · · · · · · ·VICTOR MARTINEZ,

    16· Official court interpreter for the witness,

    17· translated from the English language into Spanish,

    18· and from Spanish into English, as follows:

    19· · · · ·THE INTERPRETER:· Yes.

    20· · · · · · · · · · ·FELIPE ZAVALA,

    21· called as a witness herein, who, having been duly

    22· sworn, was thereupon examined and interrogated as

    23· hereinafter set forth.

    24· · · · ·THE WITNESS:· Yes.

    25· ///


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0658
                                     (877) 479-2484                                       YVer1f
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    ·1· and he doesn't know how to speak with people.· And

    ·2· when he spends an hour of time in line, he starts

    ·3· yelling, and -- and -- and people give us bad looks.

    ·4· Well, we had to leave the line, and he kept crying

    ·5· and screaming.

    ·6· ·Q.· · Is it your testimony, Mr. Zavala, that you

    ·7· waited in a line for more than an hour with your

    ·8· son?

    ·9· ·A.· · Yes.

    10· ·Q.· · And how many times did you do that during

    11· this two- or three-day visit?

    12· ·A.· · About five times.

    13· ·Q.· · And this was in the regular line that

    14· everyone else was lined up in?

    15· ·A.· · Yes.

    16· ·Q.· · Okay.· And you waited in this line for more

    17· than an hour at least five times?· Is that your

    18· testimony?

    19· ·A.· · Yes.

    20· ·Q.· · Do you remember the names of any of the rides

    21· that you're referring to?

    22· ·A.· · No, but there was one he really liked, which

    23· was something like a submarine, something out of

    24· Nemo or something like that.· Yes.

    25· ·Q.· · Finding Nemo?


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0659
                                     (877) 479-2484                                       YVer1f
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    ·1· ·A.· · Yeah, yes.

    ·2· ·Q.· · Okay.· And -- and -- and your testimony is

    ·3· that you waited in line for more than an hour for

    ·4· that ride?

    ·5· ·A.· · Yes.

    ·6· ·Q.· · Do you remember if that was the first day of

    ·7· the visit or the second day of the visit?

    ·8· ·A.· · The first day.

    ·9· ·Q.· · Was it the very first ride you went to?

    10· ·A.· · No.· It was a different one, but I can't

    11· remember the name of it.

    12· ·Q.· · So this was not the first ride you went to?

    13· ·A.· · No.· No, we had gone to a different one

    14· first.

    15· ·Q.· · Was it the second ride you went to?

    16· ·A.· · It was the second one, more or less.

    17· ·Q.· · Okay.· And how long did you wait in line in

    18· the first ride?

    19· ·A.· · Almost an hour.

    20· ·Q.· · Do you remember the name of that ride?

    21· ·A.· · No, but it’s like some elephants just -- that

    22· just go around like this and that's it.

    23· ·Q.· · And that was the -- that was the first ride

    24· on the first day, right?

    25· ·A.· · Yes.


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0660
                                     (877) 479-2484                                       YVer1f
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UNREDACTED VERSION OF DOCUMENT   PROPOSED
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    ·1· the Winnie the Pooh ride?· Did you go to Winnie the

    ·2· Pooh or did you stop and eat first?· What did you do

    ·3· next?

    ·4· ·A.· · No, we went straight there.

    ·5· ·Q.· · Did you eat lunch before you came to the park

    ·6· that day?

    ·7· ·A.· · Yes.

    ·8· ·Q.· · At the hotel?

    ·9· ·A.· · Yes.

    10· ·Q.· · Okay.· And did you stand in the regular line

    11· at Winnie the Pooh, or was there a line?

    12· ·A.· · The normal line for everybody.

    13· ·Q.· · How long was the wait there?

    14· ·A.· · About 30 minutes.

    15· ·Q.· · And was it just the four of you in your group

    16· or were there other people from your group that went

    17· to Winnie the Pooh?

    18· ·A.· · No, just us four.

    19· ·Q.· · Okay.· And do you remember what you did next

    20· after going on that ride?

    21· ·A.· · We went to one that's -- we went to one

    22· that's next to it, which looks like a trunk.             I

    23· think it’s a water ride.

    24· ·Q.· · It looks like a trunk, like a tree trunk?

    25· ·A.· · Yes.


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0661
                                     (877) 479-2484                                       YVer1f
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    ·1· ·A.· · His mom -- his mom did.

    ·2· ·Q.· · On her -- on her cell phone?

    ·3· ·A.· · Yes, I believe so.

    ·4· ·Q.· · Did he have a smile on his face?

    ·5· ·A.· · Of course.

    ·6· ·Q.· · What about your daughter?· How old was she at

    ·7· the time?

    ·8· ·A.· · She was about three years old, more or less.

    ·9· Three or four.

    10· ·Q.· · Daughter was three or four?

    11· ·A.· · Yes.

    12· ·Q.· · And was she enjoying the rides?

    13· ·A.· · No, hardly.

    14· ·Q.· · No?

    15· ·A.· · She doesn't really like them.

    16· ·Q.· · What about your wife?· Was she enjoying the

    17· rides?

    18· ·A.· · Some.

    19· ·Q.· · I'm sorry.· I -- I called her your wife.· But

    20· Ms. Rosas.

    21· ·A.· · Uh-huh, that's fine.

    22· ·Q.· · Did -- did she enjoy the rides?

    23· ·A.· · Some of them she did.

    24· ·Q.· · What about you?

    25· ·A.· · I like the big ones at the end.


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0662
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    ·1· ·A.· · Mine.

    ·2· ·Q.· · Just yours?

    ·3· ·A.· · Yeah.· Some -- some children of her siblings

    ·4· that are -- came with because they wanted to go on

    ·5· the same ride.

    ·6· ·Q.· · There were other kids there besides your son,

    ·7· right?

    ·8· ·A.· · Of course.

    ·9· ·Q.· · Right.· And they had preferences of where

    10· they wanted to go, right?

    11· ·A.· · Yeah, because they're allegedly normal.

    12· Because my son can't decide on his own which one he

    13· wants to go on or not.· He just says he likes a

    14· certain one, but then when he comes to getting on,

    15· he won't go on it.

    16· ·Q.· · Okay.· So he didn't really know which ones he

    17· wanted to go on, right?

    18· ·A.· · No, he didn't, because he had never been

    19· there.

    20· ·Q.· · Okay.· And sometimes you said he would -- he

    21· would think he wanted to go on a ride, but then when

    22· he got there, he didn't want to go on it?

    23· ·A.· · Yeah.· He did it twice.

    24· ·Q.· · Twice that he thought he wanted to go on a

    25· ride and then didn't go on it?


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0663
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    ·1· ·A.· · Yes.

    ·2· ·Q.· · Okay.· And when you went looking for this

    ·3· Cars ride, did you find it?

    ·4· ·A.· · Yes, on the map, in the map.

    ·5· ·Q.· · Was it dark at this point?

    ·6· ·A.· · No.

    ·7· ·Q.· · So it’s 6:30 or 7 o'clock in November and it

    ·8· wasn't dark?

    ·9· ·A.· · There was just a little bit of light out.

    10· ·Q.· · Okay.· Okay.· And did you find the Cars ride?

    11· ·A.· · Yes.

    12· ·Q.· · How many people with the different

    13· kids and -- were you there or was your -- was

    14· Ms. Rosas there?

    15· ·A.· · Yes.

    16· ·Q.· · And did you wait in line there?

    17· ·A.· · Yes.

    18· ·Q.· · In the regular line?

    19· ·A.· · Yes.

    20· ·Q.· · And how long was that wait?

    21· ·A.· · Oh, that was also about 40 minutes.

    22· ·Q.· · And tell me the names of everybody that you

    23· can remember who was -- who waited in that line, the

    24· names of the kids, the adults.· Who was together

    25· waiting in that line?


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0664
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    ·1· ·A.· · Okay.· Oscar was there, and he's Tita's son.

    ·2· He was about six or seven years old during that time

    ·3· as well.

    ·4· · · · ·Johnny is Tita's husband, and he's the

    ·5· brother of Yesenia.

    ·6· ·Q.· · Okay.

    ·7· ·A.· · Samantha is the Yesenia's sister-in-law as

    ·8· well, and she -- and she had her daughter with her,

    ·9· but I can't remember her name.

    10· · · · ·And there's one other person.· Oh, Abel.

    11· Abel and Jasmine, and they're my friends.· They were

    12· not adults at the time.

    13· ·Q.· · How old were they?

    14· ·A.· · 14 -- 13 or 14.

    15· ·Q.· · And they were kids of a friend of yours?

    16· ·A.· · Yes, of course.

    17· ·Q.· · But their parents weren't on the trip, right?

    18· ·A.· · No.· No, they did not.

    19· ·Q.· · So who was watching over them?

    20· ·A.· · I was.

    21· ·Q.· · Okay.· Did you go on the rides, the Cars

    22· ride?

    23· ·A.· · Yes.

    24· ·Q.· · Did your son, Yaxkin, go on?

    25· ·A.· · Yes.


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
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    ·1· ·A.· · No, because we didn't have the papers.

    ·2· ·Q.· · Okay.· And after this ride -- and then you

    ·3· went to look for a spot to watch the parade, right?

    ·4· ·A.· · Yes.

    ·5· ·Q.· · And did you all kind of sit on the ground or

    ·6· the curb next to the -- where the road was?

    ·7· ·A.· · Yes.

    ·8· ·Q.· · Okay.· And how long did you wait there until

    ·9· the parade came by?

    10· ·A.· · About an hour, I think.

    11· ·Q.· · And all of you were there waiting?

    12· ·A.· · Yes.

    13· ·Q.· · And then did the parade come by?

    14· ·A.· · Yes.

    15· ·Q.· · Was it a Christmas theme or some other kind

    16· of theme?

    17· ·A.· · Yeah, it was Christmas.

    18· ·Q.· · Okay.· And so after you got done watching the

    19· parade, it must have been at least 8 o'clock or

    20· something by that point, right?

    21· ·A.· · Yes, more or less.

    22· ·Q.· · More or less 8 o'clock?

    23· ·A.· · Around 8 o'clock.

    24· ·Q.· · And had you eaten anything before you left

    25· the hotel that -- late that afternoon?


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0666
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    ·1· ·A.· · Yes, at the hotel.

    ·2· ·Q.· · Okay.· And what did you do after the -- you

    ·3· watched the parade?· What did you do next?

    ·4· ·A.· · I think we were going to wait for the

    ·5· fireworks.· Is that what they're called?· I think

    ·6· so.

    ·7· ·Q.· · And did you wait for the fireworks?

    ·8· ·A.· · Yes.

    ·9· ·Q.· · And how long did you wait for the fireworks?

    10· ·A.· · I don't know, but I think they start around 9

    11· or 10 o'clock p.m.

    12· ·Q.· · But did you wait at least an hour or so?

    13· ·A.· · Yes.

    14· ·Q.· · And did you -- did you wait in the same place

    15· where you were for the parade or did you go

    16· somewhere else and wait?

    17· ·A.· · We waited and -- we went to a different place

    18· to wait.

    19· ·Q.· · Where was that place?

    20· ·A.· · I believe it’s right at the entryway to the

    21· park, right across from the Disneyland Hotel.

    22· ·Q.· · And all of your family was there waiting to

    23· watch the fireworks, right?

    24· ·A.· · Yes.

    25· ·Q.· · And did you -- was there a place to sit?· Was


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
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    ·1· ·A.· · Right.· When we entered the park, we went

    ·2· straight toward -- to the train.

    ·3· ·Q.· · Okay.· And everything else you just described

    ·4· you did that day, you were together with Ms. Rosas

    ·5· and your two children, right?

    ·6· ·A.· · Of course.

    ·7· ·Q.· · Okay.· And did you actually watch the

    ·8· fireworks?

    ·9· ·A.· · Yes.

    10· ·Q.· · And what time do the fireworks get over, if

    11· you recall?

    12· ·A.· · I believe they stop at 10 o'clock, when

    13· they're about to close the park down, because I

    14· believe that the other one for adults closes later

    15· than that.

    16· ·Q.· · The other fireworks?

    17· ·A.· · No, the other park.

    18· ·Q.· · The other park.· So after the fireworks --

    19· you told me before you were going to go to the adult

    20· park.· Did anybody go to the adult park after the

    21· fireworks?

    22· ·A.· · Yes.

    23· ·Q.· · Who went to the adult park?

    24· ·A.· · Gustavo, Alejandro, Jasmine, Abel.· I can't

    25· remember who else, but they needed to go and have


                                   U.S. LEGAL SUPPORT                      Exhibit 1GG
                                              White Decl. ISO Disney's SJ Motion P.0668
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    ·1· ·Q.· · Okay.· And it’s actually a healthy thing for

    ·2· your son that he doesn't get everything he wants.

    ·3· You help him redirect so he knows that sometimes you

    ·4· have to be patient or he has to wait for something,

    ·5· correct?

    ·6· ·A.· · Yes, of course.· He does know that.· He's

    ·7· learning that.

    ·8· ·Q.· · Okay.· And he's made progress with this

    ·9· therapy, correct?

    10· ·A.· · Yes, of course.

    11· ·Q.· · So before, when he would get upset at any

    12· time something he wanted to do, he couldn't do, now

    13· he's learned not to get upset every time, right?

    14· ·A.· · Yes.

    15· ·Q.· · Okay.· And you've seen that yourself, right?

    16· ·A.· · Yes, of course.

    17· ·Q.· · And this therapy -- this therapy he's been

    18· having has been helpful, right?

    19· ·A.· · Yes.

    20· ·Q.· · In treating this condition he has?

    21· ·A.· · Yes.

    22· · · · ·MR. SCANLON:· Okay.· Can we just take a

    23· two-minute break?

    24· · · · ·THE VIDEOGRAPHER:· Absolutely.· The time is

    25· 11:35 and we are off the record.


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    ·1· ·Q.· · So -- so would you -- you would agree --

    ·2· would you agree with that statement?

    ·3· · · · ·MR. SCANLON:· Objection.

    ·4· · · · ·THE WITNESS:· No.

    ·5· BY MR. FELDMAN:

    ·6· ·Q.· · You don't think that your son exhibited rigid

    ·7· behavior?

    ·8· · · · ·MR. SCANLON:· Asked and answered.· He just

    ·9· said no.

    10· · · · ·THE WITNESS:· No.

    11· BY MR. FELDMAN:

    12· ·Q.· · Okay.· On the first day in the park, did --

    13· how was it decided which rides to go on?

    14· · · · ·MR. SCANLON:· Asked and answered.· Objection.

    15· · · · ·THE WITNESS:· Yeah.

    16· BY MR. FELDMAN:

    17· ·Q.· · How was it decided which rides to go on?

    18· · · · ·MR. SCANLON:· That testimony has already been

    19· covered in my answers.

    20· · · · ·THE WITNESS:· Yeah, I already did say that.

    21· BY MR. FELDMAN:

    22· ·Q.· · Did you decide which rides Yaxkin would go

    23· on?

    24· ·A.· · No; he did.

    25· ·Q.· · Okay.· And how did he communicate which rides


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    ·1· US DISTRICT COURT OF CALIFORNIA
    · · CENTRAL DISTRICT
    ·2

    ·3· · · · · · · · REPORTER'S CERTIFICATE

    ·4· · · · ·I, Angie Diner, CSR No. 9581, Certified

    ·5· Shorthand Reporter, certify:

    ·6· · · · That the foregoing proceedings were taken

    ·7· before me at the time and place therein set forth,

    ·8· at which time the witness was put under oath by me;

    ·9· · · · That the testimony of the witness, the

    10· questions propounded, and all objections and

    11· statements made at the time of the examination were

    12· recorded stenographically by me and were thereafter

    13· transcribed;

    14· · · · That the foregoing is a true and correct

    15· transcript of my shorthand notes so taken.

    16· · · · Further, that a review of the transcript by

    17· the deponent was not requested;

    18· · · · I further certify that I am not a relative or

    19· employee of any attorney of the parties, nor

    20· financially interested in the action.

    21· · · · I declare under penalty of perjury under the

    22· laws of ___________ that the foregoing is true and

    23· correct.

    24· · · · · Dated this 26th day of November, 2019

    25· · · · · · · _______________________________
    · · · · · · · ·Angie Diner, CSR No. 9581


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